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                                                                                        JS-6
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  7                               UNITED STATES DISTRICT COURT
  8                              CENTRAL DISTRICT OF CALIFORNIA

  9    CHARLYNN H. PRUNER,                           Case No. 8:21-cv-00300-DOC-KES
 10                       Plaintiff,                 ORDER ON STIPULATION OF
 11                                                  DISMISSAL WITH PREJUDICE
              v.
 12
       USCB, INC. d/b/a/ USCB AMERICA,
 13
                          Defendant.
 14

 15          Plaintiff, Charlynn H. Pruner, and Defendant, USCB, Inc. d/b/a USCB America, through
 16   counsel, having filed their Stipulation of Dismissal with Prejudice, and this Court having reviewed
 17
      the same, hereby ORDERED:
 18
         1. The stipulation is approved. The case is dismissed with prejudice with each party to bear its
 19
      own costs and attorneys’ fees.
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 23   Dated: June 17, 2021                                        ______________________________
                                                                  Hon. David O. Carter
 24                                                               United States District Judge

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